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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND

AMERICAN EDUCATIONAL RESEARCH
ASSOCIATION, et al.,

                 Plaintiffs,

                    vs.
                                               Civil Action No. 8:25-cv-01230
U.S. DEPARTMENT OF EDUCATION,
et al.,

               Defendants.




   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR A
                  PRELIMINARY INJUNCTION
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                                        INTRODUCTION

       In a handful of sweeping, arbitrary actions, Defendants have eviscerated the nation’s

education research agency—the Institute of Education Sciences (“IES”). Congress established IES

and its four component centers to provide high-quality, timely education data and research that

would serve the needs of educators, schools, and students. To achieve that aim, Congress explicitly

required that IES disseminate its data and research to education researchers so that they can further

our knowledge of the education system and practices that can improve it. Congress gave IES

numerous mandatory duties to ensure its mission was achieved and has consistently appropriated

funding to carry out those functions. For decades, IES has served as the foundation for education

researchers’ work to assess the state of our education system, understand the challenges faced by

our students, and discover practices to address those challenges.

       But in a couple of ill-considered swings of the hatchet, Defendants have made it impossible

for IES to carry out its statutorily-required functions. First, in February, Defendants abruptly

terminated contracts carrying out vital research studies mid-stream—even where tens of millions

of dollars had already been expended and years of work had been invested. In the same blow, they

slashed contracts that underpinned the leanly-staffed agency’s ability to function. This dramatic

termination of research contracts was both unexplained and unconsidered. Expert IES staff were

neither consulted beforehand nor given a rationale afterward. Second, in March, Defendants

announced the termination of nearly 90 percent of IES’s staff, a move that would obliterate the

agency. This termination is set to take final effect in June. Two of IES’s centers—each charged by

Congress with a long list of statutory research and dissemination duties—will be left with a single

employee.




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       These actions are contrary to Congress’s instructions and appropriations. Even after

Defendants announced these cuts, Congress appropriated funding for the agency at the same level

as last year. Congress’s direction is clear: IES must continue to carry out the numerous data,

research, and dissemination functions that Congress has assigned to it for more than two decades.

       Defendants’ actions make that impossible. Defendants have cut off the vast majority of

IES’s functions by terminating research and support contracts en masse and leaving the agency

with a skeleton staff that has no plausible way to carry out the agency’s duties.

       This is of great consequence to Plaintiffs and their members. Plaintiffs’ members are

education researchers, as well as instructors and policymakers—including higher education

faculty, school district leaders, data scientists, statisticians, and graduate students preparing for

these roles—working to improve educational outcomes for children, adolescents, college students,

and adult learners. They rely on the quality, timely education data and research that Congress

requires IES to disseminate for use in their own research.

       The abrupt termination of IES’s data and research functions, without notice, has sent

shockwaves through the education research community. Plaintiffs’ members have already lost

access to data and research that IES was previously disseminating. This loss has harmed Plaintiffs’

members by limiting their abilities to do their jobs and to contribute to our country’s understanding

of the state of our education system. The harms Plaintiffs’ members suffer are substantial, and,

without preliminary relief, Defendants’ actions will have dire long-lasting effects that cannot be

remedied: IES will be effectively dismantled and its work discontinued; the data of years-long

studies (including critical post-pandemic assessments) will be lost; and core data sets will not be

updated. All of this means that Plaintiffs’ members will not be able to do the work that Congress

has directed IES to encourage and support.




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       Defendants’ actions are arbitrary and capricious and violate Congress’s clear directions in

IES’s organic statute and appropriations laws, as well as constitutional separation-of-powers

principles. Plaintiffs ask that this Court order preliminary relief to prevent further irreparable harm

to Plaintiffs’ members and to the public.

                                   FACTUAL BACKGROUND

       In two rash acts, Defendants eviscerated IES, a congressionally-established and -funded

agency that provides the infrastructure for rigorous, high-quality education data collection and

research in the United States. First, through an unconsidered and abrupt mass contract cancellation

(the “Research Termination Action”), and then through a reduction in force (“RIF”) designating

nearly 90 percent of IES’s staff for termination (the “IES Staff Termination Action” and, together,

the “Termination Actions”), Defendants have acted to stop IES from carrying out its vital

functions. But Congress has not removed or reduced a single function required of IES during this

period. Instead, immediately following the Termination Actions, Congress indicated that IES

should continue those functions by funding IES at the same level it had the year prior. If these

actions are permitted to stand, education researchers across the country—including Plaintiffs’

members—will be deprived of the statutorily-required resources that IES must publicly

disseminate so that those researchers and other members of the education community, including

parents and educators, can assess how our nation’s students are performing, what interventions and

strategies will help them improve, and how to put those ideas into practice.

       I.      Congress Established IES, Assigned the Agency Critical Functions, and
               Continues to Fund Its Operation.

       Congress created IES in 2002 to “provide national leadership in expanding fundamental

knowledge and understanding of education . . . in order to provide parents, educators, students,

researchers, policymakers, and the general public with reliable information about” the condition



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and progress of education in our country, practices that will improve achievement and opportunity,

and the effectiveness of federal programs. 20 U.S.C. § 9511. To achieve this mission, Congress

instructed IES to “compile statistics, develop products, and conduct research, evaluations, and

wide dissemination activities . . . supported by Federal funds appropriated to the Institute.” Id

(emphasis added).1 IES was established within the Department of Education (“the Department”)

with four significant centers. First, Congress incorporated the National Center for Education

Statistics (“NCES”), a principal federal statistical agency that has collected and analyzed education

data for more than 150 years, into IES. 20 U.S.C. § 9541. Second and third, Congress created the

National Center for Education Research (“NCER”) and the National Center for Special Education

Research (“NCSER”) within IES to carry out high-quality scientific research on education to

improve the nation’s education system. 20 U.S.C. §§ 9531, 9567. Fourth, Congress created the

National Center for Education Evaluation and Regional Assistance (“NCEE”) to provide technical

assistance, disseminate research and evaluation results, and conduct education evaluations. 20

U.S.C. § 9561.

         Since its establishment, IES has played a critical role in supporting and fostering a robust

system of rigorous education data collection and analysis, research regarding education practices,

and dissemination of critical findings to researchers, educators, and policymakers. IES’s work has

fueled a revolution in education data and research that has facilitated evidence-based policymaking

and practice to improve our nation’s education system.2 The research IES has funded and


         1
           The Education Sciences Reform Act of 2002 so focuses on “dissemination” that it defines the term: “The
term ‘dissemination’ means the communication and transfer of the results of scientifically valid research, statistics,
and evaluations, in forms that are understandable, easily accessible, and usable, or adaptable for use in, the
improvement of educational practice by teachers, administrators, librarians, other practitioners, researchers, parents,
policymakers, and the public, through technical assistance, publications, electronic transfer, and other means.” 20
U.S.C. § 9501(10) (emphasis added).
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           David Chard, POV: Cuts to Department of Education’s Institute of Education Sciences Equals High Risk
and Low Reward, Bos. Univ. Today (Feb. 27, 2025) [https://perma.cc/A2SG-P6GF], McGrath Decl. Ex. 1 (AERA-
0153–56).


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disseminated, and the field of rigorous education research that it has fostered, have aided

policymakers and educators in improving outcomes for students across the country. From the

“Mississippi Miracle” that vastly improved literacy in one of the nation’s poorest states to the

transformation of English language learning in California, to approaches for increasing community

college graduation rates in New York, IES’s data, research, and dissemination plays a crucial role

in fostering opportunity for our nation’s students. Compl. ¶¶ 72–74.3

        Congress has continued to fund IES to carry out these critical functions, with annual

funding this and last fiscal year of $807.6 million.4 With this level of funding, IES has typically

been leanly staffed with agency experts, and has carried out much of its critical data, research, and

dissemination work through contracts intensively overseen by that expert staff Ex. A, Whitehurst

Declaration (“Decl.”) ¶¶ 5–9 (AERA-0003–05). 5 Although IES’s functions are critical, its budget

has generally constituted less than 0.3% of the Department’s budget.6




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and grants, Wash. Post (Feb. 14, 2025) [https://perma.cc/4KDD-2PA3], McGrath Decl. Ex. 9 (AERA-0237–40).
          6
            USAFacts Team, What is IES and what does it do?, USAFacts (Feb. 20, 2025) [https://perma.cc/W8ZK-
T6FS], McGrath Decl. Ex. 10 (AERA-0242–45).


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        II.      In February, IES’s Research Studies and Functions Were Terminated En
                 Masse in the Research Termination Action.

        On February 10, 2025, a staffer affiliated with the Department of Government Efficiency

(“DOGE”) arrived at the Department with a list of 89 IES contracts worth nearly $900 million and

a mission to terminate the contracts—and they were cancelled within 24 hours.7 No meaningful

reasoning was provided—publicly or even to IES expert staff responsible for the contracts—to

justify the mass cancellation of the contracts through which IES carried out its critical work.8 See

Ex. D, Pollard Young Decl. ¶¶ 8–10 (AERA-0026–27). As one long-time IES research analyst

explains in her declaration, IES subject matter experts and their superiors had no involvement in

the rapid process of deciding to conduct this mass cancellation:

        On February 10, 2025, my colleagues and I were called into a division-wide
        meeting by our supervisors. Our supervisors said that they had been called into an
        emergency meeting with IES’s Acting Director, and were told that the Department
        of Government Efficiency (“DOGE”) had decided to terminate the majority of
        IES’s contracts…I only found out that the two contracts I oversaw for the WWC
        were canceled when I received emails from contractors…No DOGE or ED
        employee discussed the consequences of canceling the contracts I oversaw with me
        prior to this meeting. None of my IES colleagues talked with DOGE either. The
        first day that DOGE arrived at IES was February 10, and I understand that they had
        already marked the contracts for cancellation. As a subject matter expert and
        employee responsible for some of these contracts, I neither participated in any
        deliberations before their cancellation, nor am I aware of any reasoning being
        provided for the cancellations. Neither my supervisor nor his supervisor was
        involved in the decision or aware of the cancellations in advance.

Id. at ¶¶ 8–11 (AERA-0026–27).

        Days later, on February 13, 2025, Defendants cancelled all 10 IES contracts to operate

Regional Education Laboratories (“RELs”) that serve states and districts by conducting

evaluations of education practices, undertaking tailored research, and disseminating findings.9


        7
          Meckler and Natanson, DOGE rips through Education Department [https://perma.cc/4KDD-2PA3],
McGrath Decl. Ex. 9 (AERA-0238).
        8
          Id. (AERA-0238)
        9
          Dep’t of Educ., Press Release, U.S. Department of Education Cancels Additional $350 Million in Woke
Spending (Feb. 13, 2025) [https://perma.cc/WR8N-VTHV], McGrath Decl. Ex. 11 (AERA-0247).


                                                       6
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DOGE quickly claimed credit for these cancellations and characterized them as “savings” of

federal funds.10 A post-hoc X message from the Department vaguely suggested that IES had not

succeeded by citing, ironically, IES data showing a post-pandemic decline in mathematics scores.11

This unconsidered blanket termination of critical contracts (“the Research Termination Action”)

had immediate, detrimental impacts.

        The Research Termination Action abruptly halted key IES research, data, and

dissemination functions, including large studies that the government had already invested tens of

millions of dollars in over extended periods of time. For example, many of IES’s longitudinal

studies were abruptly cancelled, including the Early Child Longitudinal Study, Kindergarten

(“ECLS-K”) of a cohort of 15,000 Kindergarteners and the High School and Beyond Study

(“HS&B”) of recent cohorts of high school students. Compl. ¶¶ 97–101.12 Past iterations of these

studies have greatly contributed to our understanding of student development and success, and

significant resources have already been invested in studying the current cohorts. In the case of

HS&B, nearly $50 million had already been obligated over the last seven years before its

cancellation.13 Now, no research or data stand to be published from those years of intensive study.

        Other large research endeavors, like the Multi-Tiered Systems of Support (“MTSS”)

assessments of critical reading intervention strategies and the National Postsecondary Student Aid

Study (“NPSAS”) of how students progress in higher education and how they pay for it were also

abruptly cutoff. The government had already invested more than $68 million in the NPSAS study


        10
             Dep’t of Gov. Efficiency, Savings [https://perma.cc/K9GZ-8BUR], McGrath Decl. Ex. 12 (AERA-0250).
        11
             U.S. Department of Education (@usedgov), X/Twitter (Feb. 12, 2025, 5:16 PM ET)
[https://perma.cc/FBR3-VSUN], McGrath Decl. Ex. 13 (AERA-0253).
          12
             HigherGov, The Design and Conduct of the Early Childhood Longitudinal Study, Kindergarten Class of
2022 through 2023 [https://perma.cc/9NN4-T6F9], McGrath Decl. Ex. 14 (AERA-0255, AERA-0258);
USASpending.Gov, IES to Rsch. Tri. Inst. (91990018F0018) [https://perma.cc/W2UY-6ESU?type=image], McGrath
Decl. Ex. 15 (AERA-0262–63).
          13
             IES to Rsch. Tri. Inst. (91990018F0018) [https://perma.cc/W2UY-6ESU?type=image], McGrath Decl.
Ex. 15 (AERA-0262).


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through two contracts that were three and six years into performance, respectively. Compl. ¶ 105.14

All of that research into how students are able to succeed, or not, in higher education and how they

pay for that education will be lost due to this abrupt cancellation. Compl. ¶¶ 102–103.

         The Research Termination Action also stopped IES’s critical functions in myriad other

ways. At least two of the cancelled contracts were necessary for the operation, maintenance, and

accuracy of the Common Core of Data (“CCD”). Compl. ¶¶ 89–90.15 The CCD is a central

collection of data about the characteristics of the nation’s education system, and its accuracy is

critical to ensuring that other research and data in the education research field is reliable and

generalizable. Perhaps most importantly, the accuracy of the CCD is vital to the accuracy of the

National Assessment of Educational Progress (“NAEP”)—often referred to as “The Nation’s

Report Card”—because it enables a valid sample for NAEP testing. Compl. ¶ 87. The CCD must

be continuously updated as populations change, people move, and schools open and close.

Particularly in the post-pandemic period, these changes have been rapid, and consistent updating

is required to ensure CCD fulfills its vital function. Ex. J, Tipton Decl. ¶¶ 16–18 (AERA-0081).16

         The Research Termination Action also ceased work on dozens of other contracts that

provided crucial support services and conducted other evaluations and studies. For example,

Defendants cancelled two support contracts necessary for IES to provide adequate access to



          14
             USASpending.Gov, Dep’t of Educ. to Mathematica, Inc. (91990024F0369) [https://perma.cc/PT5S-
ME7D?type=image], McGrath Decl. Ex. 16 (AERA-0267); USASpending.Gov, IES to Rsch. Tri. Inst.
(91990018C0039) [https://perma.cc/ZLL3-U8UL?type=image], McGrath Decl. Ex. 17 (AERA-0272).
          15
             USASpending.Gov, Dep’t of Educ. To Applied Enter. Mgmt. Corp. (91990024F0331)
[https://perma.cc/C5JW-8H7G?type=image], McGrath Decl. Ex. 18 (AERA-0279–80); USASpending.Gov, Dep’t of
Educ. to Am. Inst. for Rsch. in Behavioral Scis. (91990018C0046) [https://perma.cc/J22W-4849], McGrath Decl. Ex.
19 (AERA-0285).
          16
             Defendants have reportedly engaged in a partial reinstatement of this vital contract but then terminated
the IES staff with the capacity and expertise required to ensure its effective execution. The CCD and NAEP
remained in serious jeopardy. See Jill Barshay, NAEP, the Nation’s Report Card, Was Supposed to be Safe. It’s Not,
KQED (Apr. 7, 2025) [https://perma.cc/TQT2-2ZUC], McGrath Decl. Ex. 20 (AERA-0288–96); Alex MacGillis,
Trump’s War on Measurement Means Losing Data on Drug Use, Maternal Mortality, Climate Change and More,
ProPublica (Apr. 18, 2025) [https://perma.cc/LZ8D-TW9X], McGrath Decl. Ex. 21 (AERA-0297–300).


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restricted data—data that contains information through which specific schools or individuals could

be identified—to researchers by providing licenses, amended licenses, and secure procedures for

sending restricted data, and facilitating a disclosure review process before research based on such

data can be published. Compl. ¶ 120.17 Numerous other support contracts essential for IES’s

functions—from dissemination, to technological and administrative support, to data analysis—

were also cancelled. Compl. ¶¶ 121, 127, 138.18

        III.    In March, Defendants Terminated Nearly 90 Percent of IES’s Remaining
                Staff.

        IES has long been leanly staffed, with approximately 200 staff in its central offices and

four centers to carry out a wide array of data collection and analysis, research, and dissemination

activities across the country. See Whitehurst Decl. ¶¶ 5–10 (AERA-0003–06); Compl. ¶¶ 21, 26.19

As a result, the agency has relied heavily on contractors and grantees to aid in carrying out its core

functions. Ex. E, Chard Decl. ¶ 17 (AERA-0045). As the founding director of IES, Russ

Whitehurst, explains, IES was created with staffing efficiency as a priority, and has maintained

approximately its original level of staffing even as its budget and responsibilities have grown.

Whitehurst Decl. ¶ 5 (AERA-0003). Given this lean model, IES’s already small expert staff is


        17
             USASpending.Gov, Dep’t of Educ. to Sanametrix, Inc. (91990022F0007) [https://perma.cc/TG5J-
WEUN?type=image], McGrath Decl. Ex. 22 (AERA-0301–06); USASpending.Gov, Dep’t of Educ. to Sanametrix,
Inc. (91990024F0327) [https://perma.cc/9WDV-4T4Q?type=image], McGrath Decl. Ex. 23 (AERA-0307–11).
          18
             USASpending.Gov, Dep’t of Educ. to Manhattan Strategy Grp. (91990024F0373)
[https://perma.cc/UKC8-5GH5], McGrath Decl. Ex. 24 (AERA-0312–16); USASpending.Gov, IES to Mathematica
(91990024F0316) [https://perma.cc/24CR-V8EU?type=image], McGrath Decl. Ex. 25 (AERA-0317–21);
USASpending.Gov, IES to Rsch. Tri. Inst. (91990024F0347) [https://perma.cc/78UF-RECY?type=image], McGrath
Decl. Ex. 26 (AERA-0322–26); Dep’t of Educ. to Am. Inst. for Rsch. in Behavioral Scis. (91990018C0046),
[https://perma.cc/J22W-4849], McGrath Decl. Ex. 19 (AERA-0282–87); USASpending.Gov, IES to Activate Rsch.
(91990022F0006) [https://perma.cc/8S23-HTA2?type=image], McGrath Decl. Ex. 27 (AERA-0327–31);
USASpending.Gov, Dep’t to Educ. to Am. Inst. for Rsch. in Behavioral Scis. (91990024F0301)
[https://perma.cc/77WN-9JK9?type=image], McGrath Decl. Ex. 28 (AERA-0332–36); USASpending.Gov, IES to
Synergy Enters. (91990020F0309) [https://perma.cc/VN7D-3GZU?type=image], McGrath Decl. Ex. 29 (AERA-
0337–42).
          19
             OPM, FedScope (select “Quarter Months” Data Cube under “Status Data,” then select “September
2024,” then on the top dropdown menu, select “Agency - All," "Cabinet Level Agencies,” “ED-Department of
Education,” and “EDER-Institute of Education Sciences”) [https://perma.cc/A9C8-HVWS], McGrath Decl. Ex. 30
(AERA-0343–44); see also Whitehurst Decl. ¶ 5 (AERA-0003).


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critical to the functioning of the agency. All components need expert staff to develop the agency’s

strategic approaches, direct research and evaluation projects, oversee the work of contractors, and

carry out the many tasks required to comply with federal contracting requirements and ensure

effective performance. NCES, for example, needs experts who can oversee data collections and

perform analysis. Chard Decl. ¶ 9 (AERA-0043); Whitehurst Decl. ¶ 11 (AERA-0006). NCER and

NCSER need expert staff to chart the strategic course for high-quality research, engage with

research applicants, and oversee the performance of grantees and contractors. Ex. B, Okagaki Decl.

¶ 10 (AERA-0013).

         On March 11, 2025, Defendants made carrying out these functions impossible. As a part of

the Department’s announcement of a mass RIF, the Department designated nearly 90 percent of

IES’s staff for termination, leaving only about 20 employees across IES’s main office and its four

components. Pollard Young Decl. ¶ 16 (AERA-0029).20 NCES was left with three staff—fewer

than it had in 1870, shortly after it was established. Compl. ¶ 12821; Pollard Young Decl. ¶ 16(a)

(AERA-0029). NCER and NCEE were each left with only a single remaining employee. Pollard

Young Decl. ¶¶ 16(b), 16(d) (AERA-0029). Defendants released barely any information about

these terminations and offered no explanation of how IES would (or could) continue to serve its

functions following the RIF. Compl. ¶ 130. The IES Staff Termination Action left a short period

of time before staff were placed on administrative leave on March 21, 2025, at which point IES’s

capacity was dramatically truncated.22 Pollard Young Decl. ¶ 15 (AERA-0028–29). Staff received

formal RIF termination notices on or around April 10, 2025, and they are due to be finally separated


         20
             Jill Barshay, Chaos and confusion as the statistics arm of the Education Department is reduced to a
skeletal staff of 3, Hechinger Rep. (Mar. 14, 2025) [https://perma.cc/5RLR-5TZ4], McGrath Decl. Ex. 31 (AERA-
0345–51).
          21
             Bureau of Educ., Report of the Comm’r of Educ., Made to the Sec’y of the Interior, at 5 (Oct. 27, 1870)
[https://perma.cc/68BY-UB4M], McGrath Decl. Ex. 32 (AERA-0352–54).
          22
             Dep’t of Educ., Press Release, U.S. Department of Education Initiates Reduction in Force (Mar. 11,
2025) [https://perma.cc/WF8P-AAQD], McGrath Decl. Ex. 33 (AERA-0355–56).


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from the agency on or around June 10, 2025. Pollard Young Decl. Ex. 2 (AERA-0037–40); Compl.

¶ 129.23

        The IES Staff Termination Action was part of Defendants’—and the Trump

Administration’s—broad effort to close the Department of Education. In announcing the RIF that

terminated the vast majority of IES staff, Defendant Education Secretary Linda McMahon said it

was a part of the Department’s “final mission.”24 The next week, the President issued an executive

order directing the closure of the Department, which essentially memorialized the Termination

Actions as the Administration’s policy and which justified the actions to end the Department and

IES, ironically, by citing IES data showing educational challenges in wake of the pandemic.25

While Defendant McMahon stated that the mass RIF, and thus the IES Staff Termination Action,

would not stop the Department from carrying out “all statutory programs,” Defendant Acting IES

Director Matthew Soldner wrote the next day that the termination of the “vast majority of IES

staff” was to “transition our core work to others.”26 But the Department has not identified these

“others.” Congress has not altered any of IES’s statutory responsibilities, and days after the IES

Staff Termination Action, it appropriated funding for IES (not some unidentified “others”) at the

same level as the previous year.27

                                                 ARGUMENT

        A preliminary injunction “prevent[s] irreparable harm during the pendency of a lawsuit,”

giving the Court time to “render a meaningful judgment on the merits.” United States v. South


        23
             Id.
        24
             Dep’t of Educ., Secretary McMahon: Our Department’s Final Mission (Mar. 3, 2025)
[https://perma.cc/F7BT-MQ3D], McGrath Decl. Ex. 34 (AERA-0357–60).
          25
             Improving Education Outcomes by Empowering Parents, States, and Communities, Exec. Order No.
14242 (Mar. 20, 2025), 90 Fed. Reg. 13679 (Mar. 25, 2025) [available at https://perma.cc/T8KY-BU96], McGrath
Decl. Ex. 35 (AERA-0361–63) (“IES Funding EO”).
          26
             Jeffrey Mervis, Layoffs gut research agency that helped monitor U.S. education, Science (Mar. 13, 2025)
[https://perma.cc/T7LE-AXF], McGrath Decl. Ex. 36 (AERA-0364–66).
          27
             Cont. Res. Mar. 2025.


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Carolina, 720 F.3d 518, 524 (4th Cir. 2013) (quoting In re Microsoft Corp. Antitrust Litig., 333

F.3d 517, 525 (4th Cir. 2003)). Preliminary relief is appropriate when plaintiffs show that: “(1)

there is a likelihood of success on the merits; (2) there is a likelihood the movant will suffer

irreparable harm in the absence of preliminary relief; (3) the balance of equities tips in movant’s

favor; and (4) the injunction is in the public interest.” Winter v. Nat. Res. Def. Council, 555 U.S.

7, 20 (2008). All factors weigh in Plaintiffs’ favor here.28

         I.       Plaintiffs Have Standing.

         Plaintiffs are membership associations of education researchers. These researchers face,

and are already experiencing, innumerable harms as a result of IES’s destruction through the

Research Termination Action and the IES Staff Termination Action. See generally, e.g., Ex. L,

Garvey Decl.; Ex. N, Alex Doe Decl.; Ex. O, Wong Decl.; Ex. I, Reardon Decl.; Ex. F, Gersten

Decl.; Ex. K, Talbott Decl.; Pigott Decl.; Ex. R, Watkins Decl.; Ex. P., Hedges Decl.; Tipton Decl.

The law creating IES specifically obligates the agency both to create and disseminate its timely

and relevant research and data to education researchers. Defendants’ Termination Actions caused

Plaintiffs’ harms here, and the relief sought would redress those harms.

         An association may assert standing as the representative of its members where (1) “its

members would have standing to sue in their own right”; (2) “the interests it seeks to protect are

germane to the organization’s purpose”; and (3) “neither the claim asserted nor the relief requested

requires the participation of individual members in the lawsuit.” Hunt v. Wash. State Apple Advert.

Comm’n, 432 U.S. 333, 343 (1977). This is just such a case. Taking the second two prongs first,

the continued operation of the nation’s education research agency is unquestionably germane to


         28
           In the alternative, Plaintiffs are entitled to relief “to preserve status or rights” pending resolution of the
case under 5 U.S.C. § 705, which is governed by the same factors. Am. Fed’n of Tchrs. v. Dep’t of Educ., No. 25-CV-
628, 2025 WL 1191844, at *7 (D. Md. Apr. 24, 2025) (citing Casa de Maryland, Inc. v. Wolf, 486 F. Supp. 3d 928,
950 (D. Md. 2020)).


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Plaintiffs’ missions as associations of education researchers. Compl. ¶¶ 141–156; Ex. H, Levine

(AERA) Decl. ¶¶ 4–9 (AERA-0064–66); Ex. G, Weiss (SREE) Decl. ¶ 6 (AERA-0055). And the

injunctive relief sought here—seeking declaratory and injunctive relief to require IES to continue

to carry out its required functions—does not require the individual participation of Plaintiffs’

members.

        The first prong is also satisfied because Plaintiffs’ members would have standing to sue in

their own right. To have standing, a plaintiff must “demonstrate the now-familiar elements of

injury in fact, causation, and redressability.” Lance v. Coffman, 549 U.S. 437, 439 (2007).

Plaintiffs’ members easily satisfy that three-part test. Plaintiffs’ members have suffered and will

imminently suffer further “concrete and particularized” and “actual or imminent” injuries as a

result of Defendants’ actions. Hutton v. Nat’l Bd. of Exam’rs in Optometry, Inc., 892 F.3d 613, 621

(4th Cir. 2018) (cleaned up). The shutting down of virtual, remote access to certain data has already

caused Plaintiffs’ members to lose access to IES data that is subject to restrictions that protect

identifying information (“restricted-use data”)—data critical to their education research—and

Defendants’ mass-cancellation of contracts and mass-termination of staff imminently threatens

Plaintiffs’ members access to and use of that and other critical data through other means. Garvey

Decl. ¶¶ 22–25 (AERA-0095–96); Reardon Decl. ¶¶ 14–15 (AERA-0074); Alex Doe Decl. ¶¶ 8,

11 (AERA-0106); Wong Decl. ¶¶ 10–18 (AERA-0111–12). The Research Termination Action and

IES Staff Termination Action further directly threaten the continued operation of the What Works

Clearinghouse (“WWC”),29 and will deprive both the Education Research Information Center

(“ERIC”) and WWC of updated research studies and data that Plaintiffs’ members need to address

new challenges and to foster further effective research and practice. Tipton Decl. ¶¶ 21–24 (AERA-


        29
         See USASpending.Gov, Dep’t of Educ. to ABT Global LLC (91990025F0014) [https://perma.cc/UQ44-
J3KS], McGrath Decl. Ex. 37 (AERA-0367–71).


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0082–83); Talbott Decl. ¶¶ 11–12 (AERA-0089); Watkins ¶¶ 7–10 (AERA-0132). The

dissemination of education research and data through the WWC and ERIC is critical to the work

of Plaintiffs’ members in conducting meta-analysis, in designing research projects and evaluations,

and in putting research-based education interventions into practice. See, e.g., Boulay Decl. ¶¶ 5–7

(AERA-0124–25), 10–12; Pigott Decl. ¶¶ 8–13 (AERA-0136–37); Watkins Decl. ¶¶ 7–10 (AERA-

0132).

         Defendants’ cancellation of myriad significant studies in the Research Termination Action,

moreover, like the ECLS-K studies and the MTSS approach to reading study, will directly prevent

Plaintiffs’ members from gaining access to vital, long-running research products that they had been

planning to incorporate into their work. Reardon Decl. ¶¶ 18–19 (AERA-0075); Gersten Decl. ¶¶

9–15 (AERA-0050–52).30 Plaintiffs’ members have also already lost access to the updated data,

research, and services provided by the RELs: With the RELs contracts cancelled, they are no longer

conducting research, disseminating research and data resources, or providing the technical

assistance relied on by Plaintiffs’ members. See, e.g., Talbott Decl. ¶ 13 (AERA-0089–90); Weiss

(SREE) Decl. ¶ 9 (AERA-0056–57). Another contract cancellation cut off the needed technical

assistance that had been provided to Plaintiffs’ members. Weiss (SREE) Decl. ¶ 10 (AERA-

0057).31 And since the IES Staff Termination Action, new research grants are not being approved,

harming Plaintiffs’ members ability to access timely research on relevant topics conducted by

others. See, e.g., Talbott Decl. ¶ 7–13 (AERA-0087–90); Reardon Decl. ¶ 20 (AERA-0076). The

harms to Plaintiffs’ members are many, ongoing, and growing. Ultimately, if Defendants’



        30
           See also IES, Impact Evaluation of Training in Multi-Tiered Systems of Support for Reading in Early
Elementary School [https://perma.cc/8MNG-QZPA], McGrath Decl. Ex. 38 (AERA-0372–75); Jill McCarroll,
Happy New Year from the ECLS-K: 2024!, NCES (Jan. 7, 2025) [https://perma.cc/TW43-ZV24], McGrath Decl. Ex.
39 (AERA-0376–79).
        31
           USASpending.Gov, Dep’t of Educ. to ABT Global LLC (91990020F0305) [https://perma.cc/FZ3Q-
QZMK], McGrath Decl. Ex. 40 (AERA-0380–84).


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evisceration of IES is allowed to stand, with only a tiny stump of staff left and a mass of contracts

cancelled, irreplaceable timely, quality education research, data, and related resources will not be

disseminated or available to Plaintiffs’ education researcher, policymaker, and practitioner

members.

       These harms were unquestionably caused by Defendants’ Termination Actions. No

Congressional prompting or change in law caused Plaintiffs’ members to lose access to the critical

data and research they need to conduct their research and further our understanding of the

education system; Defendants’ actions did. And that harm is redressable by a favorable decision

here: Plaintiffs seek relief, including the reinstatement of IES staff to perform IES functions and

the reinstatement of cancelled contracts, that would require IES’s continued operation and the

fulfillment of its functions on which Plaintiffs’ members rely. See Hutton, 892 F.3d at 619 (reciting

causation and redressability elements of standing). Plaintiffs’ members would therefore have

Article III standing to sue in their own right.

       Plaintiffs’ members also would have prudential standing because they fall within the zone

of interest of the statutes they seek to enforce. “[I]n the in the APA context,” the zone-of-interests

test for standing “is not especially demanding,” requiring only that a plaintiff’s interests are

“arguably” within the zone of the relevant statute under a “lenient” analysis. Lexmark Int’l, Inc. v.

Static Control Components, Inc., 572 U.S. 118, 130 (2014). The interests of Plaintiffs’ members—

as education researchers—are unambiguously within the zone that Congress sought to protect in

enacting the Education Sciences Reform Act (“ESRA”). ESRA specifically identifies serving the

interests of, and disseminating quality data and research to, “researchers” as an explicit purpose

underlying IES’s establishment. 20 U.S.C. §§ 9501(10), 9511(b)(1). Plaintiffs have been injured




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by Defendants’ actions to eviscerate IES’s functions, and they have standing to challenge those

actions.32

         II.      Plaintiffs Are Likely to Succeed on the Merits.

         Plaintiffs are likely to prevail in showing that Defendants’ Termination Actions—cutting

off vital research and support contracts and terminating the vast majority of IES staff—must be set

aside under the Administrative Procedure Act (APA). The APA permits judicial review of “final

agency action for which there is no other adequate remedy in a court,” 5 U.S.C. § 704, and provides

that a court “shall” “hold unlawful and set aside agency action” that is, among other things,

“arbitrary [and] capricious,” “not in accordance with law,” “in excess of statutory … authority,”

or “contrary to constitutional [] power.” 5 U.S.C. § 706(2)(A)–(C). Defendants’ Termination

Actions are reviewable final agency actions that must be set aside for multiple independent

reasons. First, these actions are arbitrary, with almost no reasoning provided for their dramatic

destruction, no consideration of reliance interests or expert input, and irrational consequences that

throw away hundreds of millions of dollars already invested in ongoing studies. Second, the

Termination Actions are contrary to law and exceed Defendants’ statutory authority as they make

it impossible for IES to carry out the many duties assigned to the agency by Congress. Third, the

disregard of Congress’s direction to carry out IES’s functions and to spend appropriated funds on

those functions violates Congress’s constitutional power and separation-of-powers principles.


         32
             Some preliminary relief ordering reinstatement of employees has been stayed by the Supreme Court and
the Fourth Circuit with brief reasoning and reference to standing. OPM v. Am. Fed’n of Gov’t Emps., No. 24A904,
2025 WL 1035208, at *1 (U.S. Apr. 8, 2025); Maryland v. USDA, No. 25-1248, 2025 WL 1073657, at *1 (4th Cir.
Apr. 9, 2025) (citing OPM). But both Maryland and OPM concerned challenges to the firing of small percentages of
affected agencies’ employees who were in probationary status, and plaintiffs in those cases did not challenge
wholesale agency destruction. Further, in Maryland, the lower court found the challenging states’ standing was
based specifically on the purported failure to comply with relevant RIF regulations (and concomitant requirements
that states be provided requisite notice. Maryland v. USDA, No. 25-CV-0748, 2025 WL 973159, at *5 (D. Md. Apr.
1, 2025). In OPM, the Supreme Court based its brief stay on the inadequacy of organizational standing articulated by
non-profits as a result of the loss of probationary employees, but here Plaintiffs have shown concrete harms to their
members flowing from the termination of nearly all IES employees.


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               A. The Termination Actions are final agency actions for which there is no
                  adequate remedy.

        As an initial matter, the Research Termination Action and IES Staff Termination Action are

subject to judicial review because they are final agency actions for which there is no other adequate

remedy in court. 5 U.S.C. § 706.

        An agency’s action is final when it (1) represents “the consummation of the agency’s

decisionmaking process,” and (2) either determines legal “rights or obligations” or is an action

“from which legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 178 (1997) (quotations

omitted). Defendants’ statements, and those of the Administration, have made clear that the

Termination Actions are intended as a permanent act to gain “savings” by ceasing to carry out

functions that Congress assigned to IES.33 Defendant Secretary McMahon’s statements about the

“final” mission of dismantling the entirety of the Department of Education further demonstrate

that the evisceration of IES through the Termination Actions is the consummation of Defendants’

decision-making.34 See POET Biorefining, LLC v. EPA, 970 F.3d 392, 404 (D.C. Cir. 2020) (finding

that approval by agency official who was “no mere subordinate” was evidence of finality).

Defendants’ IES Staff Termination Action itself confirmed the finality of the Research Termination

Action, as there are no longer sufficient staff to adequately administer research and data contracts.

See, e.g., Whitehurst Decl. ¶¶ 7–11 (AERA-0004–06); Pollard Young Decl. ¶¶ 18–20 (AERA-

0030–31); Chard Decl. ¶¶ 15–21 (AERA-0044–45); Okagaki Decl. ¶¶ 9–11 (AERA-0013).

Defendants further confirmed the finality of the IES Staff Termination Action by placing the

designated employees on administrative leave, cutting off their access to government



        33
             Dep’t of Gov. Efficiency, Savings [https://perma.cc/K9GZ-8BUR], McGrath Decl. Ex. 12 (AERA-0248–
51).
        34
        McMahon: Our Department’s Final Mission [https://perma.cc/F7BT-MQ3D], McGrath Decl. Ex. 34
(AERA-0357–60).


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communication systems, and by sending final, formal RIF notices on or around April 10, 2025.35

Pollard Young Decl. Ex. 2 (AERA-0037–40); see CACI, Inc. v. U.S. Navy, 674 F. Supp. 3d 257,

272 (E.D. Va. 2023) (finding even the agency’s failure to act without any formal decision-making

process was “final agency action” given the context, including the agency’s “last communication”

to a relevant party).

         Defendants’ statements and actions also demonstrate that the Termination Actions

determine “rights and obligations” of other parties and produce “legal consequences.” The

Research Termination Action involved abrupt cancellations of contracts, altering Defendants’ legal

obligations to other parties.36 See Alston v. Balt. Gas & Elec. Co., No. 22-CV-1061, 2023 WL

1472020, at *10 (D. Md. Feb. 1, 2023) (noting that contracts involve “legal consequences”

(quoting Allis-Chalmers Corp. v. Lueck, 471 U.S. 202 (1985))). The IES Staff Termination Action,

similarly, determines rights and obligations and has “self-evident legal consequences.” See

Maryland v. USDA, 25-CV-0748, 2025 WL 800216, at *11 (D. Md. Mar. 13, 2025) (“[A]ny

agency’s decision to dismiss an employee effects self-evident legal consequences for both parties

and plainly marks the end of the agency’s decisionmaking with respect to the employee

involved.”), appeal docketed, No. 25-1248 (4th Cir. Mar. 17, 2025) (stayed on other grounds in a

case directly challenging layoffs as a result of lack of notice and layoffs’ impact on state

unemployment systems). And the harms to Plaintiffs’ members clearly illustrate that the

Termination Actions “will directly affect the parties” here, and, indeed, that they already



         35
             Arthur Jones II, ‘Your position is being abolished’: Education Department staff get official reduction-in-
force notices, ABC News (Apr. 10, 2025) [https://perma.cc/9UPM-BCYN], McGrath Decl. Ex. 41 (AERA-0385–
89).
          36
             See, e.g., USASpending.Gov, IES to Applied Enter. Mgmt. Corp. (91990024F0367)
[https://perma.cc/LM4E-ME8P?type=image], McGrath Decl. Ex. 42 (AERA-0390–94); USASpending.Gov, IES to
WeStat, Inc. (91990019C0002) [https://perma.cc/9XBU-EWJ6], McGrath Decl. Ex. 43 (AERA-0395–400); Dep’t of
Educ. to Am. Inst. for Rsch. in Behavioral Scis. (91990018C0046) [https://perma.cc/J22W-4849], McGrath Decl. Ex.
19 (AERA-0282–87) (showing contracts were “terminated for convenience”).


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are. Franklin v. Massachusetts, 505 U.S. 788, 797 (1992).

       Further, Plaintiffs have “no other adequate remedy in a court,” 5 U.S.C. § 704, for

challenging Defendants’ Termination Actions. Although the Termination Actions involve

cancellation of contracts, no contract claim would provide Plaintiffs with an adequate remedy.

Plaintiffs cannot bring any contract claims because they are not parties to the cancelled contracts.

And, in any event, the typical remedy for such a contract claim—money damages—would not

provide Plaintiffs an adequate remedy because it would not result in the resumption of IES’s

statutorily-required research and dissemination functions. See Bowen v. Massachusetts, 487 U.S.

879, 905 (1988). Likewise, although the Termination Actions involve firing of personnel, Plaintiffs

could not bring any employment claims because they are not themselves the impacted employees.

And Plaintiffs’ complaint is not, in any case, akin to an employment action because Plaintiffs seek

to ensure the functioning of the agency on which they rely not the particulars of an employment

relationship. See Maryland v. USDA, 2025 WL 800216, at *14 n.5. The Termination Actions are

subject to review under the APA.

           B. The Termination Actions are arbitrary and capricious, with a stunning lack
              of reasoning or consideration of their impacts.

       Plaintiffs are likely to prevail on their claim that Defendants’ Termination Actions must be

set aside because they are arbitrary and capricious. The APA “requires agencies to examine

relevant data and articulate a satisfactory explanation for its action including a rational connection

between the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43 (1983) (internal quotation marks and citation omitted). An “agency action

that is arbitrary and capricious shall be set aside as unlawful.” 5 U.S.C. § 706(2)(A). An agency’s

decision is arbitrary and capricious if

              the agency has relied on factors which Congress has not intended it to
              consider, entirely failed to consider an important aspect of the


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                 problem, offered an explanation for its decision that runs counter to
                 the evidence before the agency, or is so implausible that it could not
                 be ascribed to a difference in view or the product of agency expertise.

West Virginia v. Thompson, 475 F.3d 204, 212 (4th Cir. 2007) (quoting Motor Vehicle Mfrs. Ass’n,

463 U.S. at 43). Defendants’ mass contract cancellation and termination of the vast majority of

IES staff was abrupt and unreasoned.

    i. Defendants offered hardly any explanation for the Termination Actions.

         Defendants have offered barely a scintilla of explanation for their dramatic Termination

Actions, which stand to destroy IES and, through it, the system of quality education research

developed in the United States over decades. To effectuate the Research Termination Action, a

representative from DOGE arrived at the Department and directed a mass contract cancellation

with no reasoning provided even to the staff responsible for the contracts, and the cancellations

were completed within a day. Pollard Young Decl. ¶¶ 8–11 (AERA-0026–27); Compl. ¶¶ 77–79.37

There was no consultation with expert staff or deliberative process before this rash mass

cancellation was undertaken. Pollard Young Decl. ¶¶ 8–11 (AERA-0026–27). DOGE made brief

reference—in an X message—to one aspect of a single, small contract to justify the “savings” it

claimed flowed from Defendants’ mass contract cancellations. Compl. ¶ 80.38 Defendants

terminated all these contracts “for convenience”—with no reason given—and a Department

spokesperson could not offer an explanation as to how DOGE reached the conclusion that the




         37
            Meckler and Natanson, DOGE rips through Education Department [https://perma.cc/4KDD-2PA3],
McGrath Decl. Ex. 9 (AERA-0236–240).
         38
            This reference to the contract paying for observation of mail operations may have concerned the
performance of quality control for the sending of surveys to ensure resulting data was reliable, but given the paucity
of information provided by Defendants about their actions, it remains a mystery to what DOGE was referring in the
handful of words it offered to justify the abrupt cancellation of $881 million of research and data contracts.
Department of Government Efficiency (@DOGE), X/Twitter (Feb. 10, 2025, 7:43 PM ET) [https://perma.cc/N9UU-
QFHH], McGrath Decl. Ex. 44 (AERA-0401–02).


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contracts should be cancelled.39 Defendants offered just one more shred of justification about one

of the 10 cancelled REL contracts, that a single REL had advised schools in a single state to take

actions related to “equity.”40 Defendants and the Administration offered no justification for the

cancellation of the 97 other contracts cancelled abruptly.

        Defendants offer even less explanation for the IES Staff Termination Action. In a preview

of the President’s Executive Order directing the Department to close entirely, Defendant

McMahon stated that the Department-wide RIF that cut nearly 90 percent of IES staff was part of

the Department’s “final mission,” but offered no explanation of why IES’s research functions were

to be terminated.41 Defendant Soldner, in stating that the “vast majority of IES has been subject to

a department-wide Reduction in Force (RIF),” explained only that IES’s focus would now be

“preparing for a transition of our core work to others.”42 But those “others” have not been

identified. These conclusory assertions are not “explanations,” and they do not “square with what

is required” under the APA. Mayor & City Council of Baltimore v. Azar, 439 F. Supp. 3d 591, 606

(D. Md. 2020), aff’d sub nom. Mayor of Baltimore v. Azar, 973 F.3d 258 (4th Cir. 2020).

    ii. What little reasoning Defendants have offered for the Termination Actions has no
        rational connection to the evidence before them.

        Indeed, to the extent Defendants’ bare explanations rely on anything at all, it may be the

President’s desire to close the Department. But that justification also fails because it offers no

“rational connection between the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n,

463 U.S. at 43. The President’s March 20, 2025, Executive Order seemed to offer some purported


        39
             Meckler and Natanson, DOGE rips through Education Department [https://perma.cc/4KDD-2PA3],
McGrath Decl. Ex. 9 (AERA-0236–40).
          40
             U.S. Department of Education Cancels Additional $350 Million in Woke Spending
[https://perma.cc/WR8N-VTHV], McGrath Decl. Ex. 11 (AERA-0246–47).
          41
             U.S. Department of Education Initiates Reduction in Force [https://perma.cc/WF8P-AAQD], McGrath
Decl. Ex. 33 (AERA-0355–56).
          42
             Mervis, Layoffs gut research agency that helped monitor U.S. education [https://perma.cc/T7LE-AXF],
McGrath Decl. Ex. 36 (AERA-0364–66).


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“purpose and policy” for the mass RIF that predated it by directing Secretary McMahon to close

the Department and “return authority” to the “States and local communities.”43 Defendant

McMahon’s earlier reference to the Termination Action being part of the Department’s “final

mission” echoes this policy aim of returning authority to the states.44 But the President and the

White House cite IES data at length to justify the policy aim of closing the Department,

demonstrating that Defendants themselves continue to rely on the validity and importance of IES’s

work even as they seek to destroy it.45 Defendant McMahon and the President’s stated desire to

return authority “back to the states” provides no justification for eviscerating an education research

and data agency that does not exercise any control over state and local education.46 Experts in the

field, moreover, believe that states and localities cannot substitute for the national leadership role

played by IES in the field of education research. See Whitehurst Decl. ¶¶ 12–14 (AERA-0007–08)

(explaining the lack of existing state structures, funding, and expert staff at the state level); Hedges




        43
             IES Funding EO [https://perma.cc/T8KY-BU96], McGrath Decl. Ex. 35 (AERA-0361–63).
        44
             U.S. Department of Education Initiates Reduction in Force [https://perma.cc/WF8P-AAQD], McGrath
Decl. Ex. 33 (AERA-0355–56).
          45
             IES Funding EO § 1 [https://perma.cc/T8KY-BU96], McGrath Decl. Ex. 35 (AERA-0361–63) (“Today,
American reading and math scores are near historical lows. This year’s National Assessment of Educational
Progress showed that 70 percent of 8th graders were below proficient in reading, and 72 percent were below
proficient in math.”); Fact Sheet: President Donald J. Trump Empowers Parents, States, and Communities to
Improve Education Outcomes, The White House (Mar. 20, 2025), https://www.whitehouse.gov/fact-
sheets/2025/03/fact-sheet-president-donald-j-trump-empowers-parents-states-and-communities-to-improve-
education-outcomes/ [https://perma.cc/7LNG-Q967] (“Since its relatively recent inception in 1979, the Department
of Education, which does not directly educate students, has spent over $3 trillion without improving student
achievement as measured by standardized National Assessment of Educational Progress (NAEP) scores. Federal
taxpayers spent around $200 billion in additional education funding during COVID-19, which, given the substantial
learning loss that resulted, typifies the ineffectiveness of the current federally driven model. Mathematics and
reading scores are down in public schools, despite per-pupil spending having increased by more than 245% since the
1970s, indicating that more spending does not mean better education. 13-year-olds’ mathematics scores are the
lowest they have been in decades. 13-year-olds’ reading scores are the lowest since testing began over 30 years ago.
Low-performing students are falling further behind. In 2023, 13 Baltimore, Maryland, high schools had zero
students who tested proficient in mathematics.”), McGrath Decl. Ex. 45 (AERA-0403–05).
          46
             Dep’t of Educ., Press Release, Statement on President Trump’s Executive Order to Return Power Over
Education to States and Local Communities (Mar. 20, 2025) [https://perma.cc/N4AC-MF55], McGrath Decl. Ex. 46
(AERA-0406–07) (“We are sending education back to the states where it so rightly belongs. . . . we will empower
states to take charge and advocate for and implement what is best for students, families, and educators in their
communities.”)


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Decl. ¶¶ 23–24 (AERA-0120–21). These facts show the stark lack of a “rational connection”

between the “relevant data” available to Defendants and their Termination Actions obliterating

IES’s functioning. Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43 (quoting Burlington Truck Lines v.

United States, 371 U.S. 156, 168 (1962)). Moreover, the destruction of IES certainly cannot be

considered a rational “product of agency expertise,” West Virginia, 475 F.3d at 212, where, as

here, the record shows little to no engagement with agency experts before undertaking the

Termination Actions, Pollard Young Decl. ¶¶ 8–11 (AERA-0026–27).47

    iii. The Termination Actions are also unexplained, impermissible changes in fundamental
         agency positions that do not consider Plaintiffs’ members’ reliance interests at all.

        The Termination Actions are arbitrary and capricious for the additional reason that

Defendants failed to address the change in course or consider the reliance interests their actions

affect. The Fourth Circuit has held that “in changing policies, agencies ‘must provide a reasoned

explanation for the change.’” Casa de Maryland v. DHS, 924 F.3d 684, 703 (4th Cir. 2019) (finding

a letter justifying the recission of DACA to be insufficient and arbitrary(quoting Jimenez–Cedillo

v. Sessions, 885 F.3d 292, 298 (4th Cir. 2018))). The explanation must address the ‘facts and

circumstances that underlay or were engendered by the prior policy,’ including any ‘serious

reliance interests.” Id. at 704 (quoting Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 222

(2016)). Any “‘unexplained inconsistency’ in agency policy indicates that the agency’s action is

arbitrary and capricious, and therefore unlawful.” Jimenez–Cedillo, 885 F.3d at 298 (finding

change in interpretation of crimes of moral turpitude was arbitrary and capricious).

        Defendants utterly failed to explain their change in policy. The abrupt and unreasoned

decisions that neither 90 percent of IES staff nor more than $1.2 billion in data, research, and



        47
         Meckler and Natanson, DOGE rips through Education Department [https://perma.cc/4KDD-2PA3],
McGrath Decl. Ex. 9 (AERA-0236–40).


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dissemination contracts were required any longer show a fundamental change in agency position:

the view of whether the agency should carry out its core functions at all. Defendants have offered

almost no explanation for that change, leading to the type of “unexplained inconsistency” that

renders the Termination Actions arbitrary and unlawful. Id. at 298. Even considering the shreds of

reasoning they have offered, or which can be inferred from the President’s order, White House

documents, and Defendant McMahon’s statements—relying on the validity of IES data to shutter

IES and citing states’ need for authority as a basis for shuttering an agency without authority over

states—Defendants have failed to articulate a “rational connection between the facts found and the

choice made,” Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43).

        These cursory explanations, moreover, do not account in any way for Plaintiffs’ members’

serious reliance interests. Casa de Maryland, 924 F.3d at 703. Plaintiffs’ members fundamentally

rely on IES carrying out its mission: to facilitate an ecosystem of high-quality education data and

research, and to disseminate that data and research to researchers like Plaintiffs’ members. Hedges

Decl. ¶ 23 (AERA-0120). Plaintiffs’ members have dedicated decades and enormous resources

into careers in education research that rely on IES functioning as Congress has directed. And

Plaintiffs’ members—including students who have enrolled in degree programs—rely on this

quality data and research for their own research designs, meta-analysis, dissertations, and

application in education settings to address educational challenges. Below are a selection of

examples of the ways in which IES ceasing to carry out its functions harms Plaintiffs’ members’

reasonable reliance interests:

   •    “My team and my students have been planning research using ECLS-K data. I previously
        published several high-profile research papers using earlier ECLS-K studies from 1998 and
        2010 and planned to add to that research using the new ECLS-K study data. The inability
        to use this rich and important data source will diminish our ability to conduct effective
        research and data analysis on trends and patterns in kindergarten readiness and strategies
        for improving early childhood education.” Reardon Decl. ¶ 18 (AERA-0075).



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   •    “My work outside IES-funded projects is still very reliant on the research, data, and
        analysis made possible by IES’s resources . . . The abrupt February 10, 2025, cancellation
        of the [MTSS] study will prevent me, but also other researchers in the fields of special
        education and reading, from gaining access to invaluable research and data . . . My work
        will be significantly compromised . . . The mass cancellation of IES contracts, and the
        subsequent mass layoffs of IES staff, makes the career in which I have invested decades
        untenable . . .” Gersten Decl. ¶¶ 7, 10, 15–16 (AERA-0049–52).
   •    “I have created and maintained, with the assistance of others, ‘The Generalizer,’ which is
        an online resource that I provide to researchers to aid in ensuring their findings are
        representative and generalizable across school types and populations. . . . I generally
        support it with my own time and work with a low cost developer to provide free access to
        education researchers. This work would be impossible without IES data. . . . This tool relies
        upon updated data funded through canceled IES contracts . . . . Contracts supporting these
        data sources were abruptly cancelled in February. Without these and other sources of data,
        the Generalizer tool will quickly become out-of-date and unreliable.” Tipton Decl. ¶¶ 8,
        10, 14–15 (AERA-0079, AERA-0081).
   •    “For all of this work, it is critical that we used the HSLS09 restricted-use data set. . . . The
        loss of the virtual cold room means we cannot use restricted-use HSLS09 data for our
        work.. . . further, the staff at NCES that I have worked with are gone. The people who
        could have possibly helped me are no longer there. Therefore, we cannot use HSLS09
        data.” Garvey ¶¶ 19, 26–27 (AERA-0095–96).
   •    “The [What Works Clearinghouse] provides extensively vetted education research studies
        as well as practice guides created using these studies to make them useful for practical
        application. This is an invaluable resource for my teaching and for my students’ use in
        application as it provides evidence-based approaches and interventions for education
        practice. The lack of availability or degraded capacity of the WWC would be personally
        devastating because as an academic and practitioner it is essential to my work and career.”
        Pigott Decl. ¶¶ 9, 10 (AERA-0136).
   •    “I have worked in school districts for decades, including as a director of research,
        evaluation and assessment. . . . In my work, it is vital to rely on IES-supported high-quality
        research. Without this high-quality research I would more often be forced to rely on
        information that is not valid or reliable, and would more often be forced to make decisions
        that impact the students I seek to serve with worse quality data that may not be
        representative.” Watkins Decl. ¶¶ 3, 10 (AREA-0131–32).

See also Boulay Decl. ¶¶ 7, 12–13 (AERA-0125–28); Reardon Decl. ¶¶ 8, 20 (AERA-0073,

AERA-0076); Talbott Decl. ¶¶ 3–4 (AERA-0085–86).

        The system of quality education research created by IES’s establishment is critical to

education, and IES’s functions cannot be replicated by the scattered and disparate efforts of states

and private actors. Whitehurst Decl. ¶¶ 12–13 (AERA-0007). Plaintiffs’ members’ reliance on IES



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is justified: Congress created IES to serve this role, requires IES to carry out these functions, has

funded the agency every year since 2002, and specifically directed it to account for and disseminate

data and research to education researchers. 20 U.S.C. § 9511; id. § 9512 (“Functions”).

         Defendants have not offered a single word to justify their disregard of these reliance

interests, nor even an indication that they are aware that the reliance interests of researchers exist.48

Defendants’ ignorance of existing conditions and interests is no defense; rather, it is instead an

independent reason to find that the Termination Actions were arbitrary and capricious. See Friends

of Back Bay v. U.S. Army Corps of Eng’rs, 681 F.3d 581, 588 (4th Cir. 2012) (“A material

misapprehension of the baseline conditions existing in advance of an agency action can lay the

groundwork for an arbitrary and capricious decision.”).

    iv. Defendants failed to consider important aspects of the Termination Actions, and did
        not rely on the factors Congress directed them to consider.

         Defendants’ Termination Actions are also arbitrary and capricious both because

Defendants “relied on factors which Congress has not intended [the agency] to consider” and

“entirely failed to consider an important aspect of the problem,” Motor Vehicle Mfrs. Ass’n, 463

U.S. at 43. Defendants’ unreasoned mass contract cancellations and mass staff termination fully

disregard Congress’s direction to operate IES in a manner that carries out its statutorily-required

functions to foster effective education research in the United States. Defendants’ apparent attempt




         48
            Further illustrating this disregard for reliance interests in Defendants’ Termination Actions, they also
abruptly cancelled a contract carrying out a study of special education transition supports by funding services for
students in districts around the country. These students’ services were abruptly terminated on a day’s notice. Cory
Turner, DOGE abruptly cut a program for teens with disabilities. This student is ‘devastated’, NPR (Apr. 14, 2025)
[https://perma.cc/7K42-2E5M], McGrath Decl. Ex. 47 (AERA-0408–418); USASpending.Gov, Dep’t of Educ. to
Am. Inst. for Rsch. in Behavioral Scis. (91990019C0078) [https://perma.cc/8GSA-FXP8?type=image], McGrath
Decl. Ex. 48 (AERA-0419–23).


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to achieve “savings”49 through these actions fully ignores that, even after the Termination Actions,

Congress appropriated the same level of funding for IES as it had for the previous year and a half.50

        Further, Defendants’ own statements surrounding the IES Staff Termination Action are, at

a minimum, contradictory and clearly do not rely on Congress’s directions in ESRA or its recent

appropriations. Notwithstanding Secretary McMahon’s assurance that the Department would

“continue to deliver on all statutory programs,” Defendants have not explained how they would

do so, and instead suggested unspecified “others” would carry out IES’s functions.51

        And Defendants have clearly not considered the ramifications of their Termination Actions

on our nation’s ability to understand the “status and progress” of our education system or to

conduct research with “high standards of quality, integrity, and accuracy.” 20 U.S.C. § 9511.

Defendants’ Termination Actions stand to destroy the field of high-quality education research that

has been built for decades with the “national leadership,” support, research and data dissemination,

and resources provided by IES. 20 U.S.C. § 9511; Okagaki Decl. ¶¶ 15–18 (AERA-0014–15);

Whitehurst Decl. ¶¶ 12–14 (AERA-0007–08); Chard Decl. ¶¶ 13–14 (AERA-0044); Hedges Decl.

¶¶ 22–24 (AERA-0120–21). Nor is there any evidence they have considered the necessity of IES

for tracking the status of our nation’s progress on its educational challenges—which are acute

following the pandemic, as the President and the Department have acknowledged using IES data—

or the vital role of IES’s rigorous research to identify evidence-based methods of addressing those

challenges. Courts in this District have found far more rational decision-making than Defendants’

Termination Actions to be arbitrary and capricious. See, e.g., New England Anti-Vivisection Soc’y



        49
             Dep’t of Gov. Efficiency, Savings [https://perma.cc/K9GZ-8BUR], McGrath Decl. Ex. 12 (AERA-0248–
51).
        50
            Cont. Res. Mar. 2025 (referring to Further Consolidated Appropriations Act, 2024, Pub. L. 118-47, 138
Stat. 693 (Mar. 23, 2024)).
         51
            Mervis, Layoffs gut research agency that helped monitor U.S. education [https://perma.cc/T7LE-AXF],
McGrath Decl. Ex. 36 (AERA-0364–66).


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v. Goldentyer, No. 20-CV-02004, 2023 WL 2610867, at *11 (D. Md. Mar. 23, 2023) (finding that

the Department of Agriculture’s use of “focused inspections” to address the valid “practical

consideration of inspector workload” considered a factor—workload—that Congress did not

intend”).

    v. Defendants’ unreasoned and unexplained cancellation of research contracts mid-
       performance is illustrative of the profound arbitrariness of the Termination Actions.

        Finally, Defendants’ decision—without explanation—to cancel numerous large contracts

mid-performance after millions or tens of millions of dollars had already been spent to conduct

extensive data collection and research stands out for its lack of reasoning. These cancellations, if

allowed to stand, achieve minimal savings and will waste hundreds of millions of taxpayer dollars

by preventing the completion and dissemination of critical research that was already well

underway. The HS&B study was cancelled after more than $44 million dollars were spent on

conducting it over almost seven years.52 The ECLS-K Study was cancelled after $57 million were

spent to conduct it over 5 years, and thousands of children and their parents and educators were

studied.53 See Reardon Decl. ¶¶ 18–19 (AERA-0075–76). The contracts to carry out the National

Postsecondary Aid Study were cancelled abruptly after more than 6 years of work and $68 million

in taxpayer funds were expended.54

             C. The Termination Actions are contrary to law and in excess of Defendants’
                statutory authority.

        Plaintiffs are also likely to prevail on their claim that the Termination Actions are “not in

accordance with law” and “in excess of statutory . . . authority,” 5 U.S.C. § 706(2); see Nat’l Fed’n


        52
            IES to Rsch. Tri. Inst. (91990018F0018) [https://perma.cc/W2UY-6ESU?type=image], McGrath Decl.
Ex. 15 (AERA-0261–65).
         53
            IES to WeStat, Inc. (91990019C0002) [https://perma.cc/9XBU-EWJ6], McGrath Decl. Ex. 43 (AERA-
0395–400).
         54
            IES to Rsch. Tri. Inst. (91990018F0018) [https://perma.cc/W2UY-6ESU?type=image], McGrath Decl.
Ex. 15 Ex. 15 (AERA-0261–65); IES to Rsch. Tri. Inst. (91990018C0039) [https://perma.cc/ZLL3-
U8UL?type=image], McGrath Decl. Ex. 17 (AERA-0271–76).


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of Indep. Bus. v. OSHA, 595 U.S. 109, 117 (2022) (“Administrative agencies are creatures of

statute. They accordingly possess only the authority that Congress has provided.”). Through the

Termination Actions, Defendants have acted to stop carrying out IES’s required functions, as the

agency has terminated the staff needed to carry out those functions and a large share of the

contracts through which it previously met its statutory obligations. And halting the performance of

statutorily-required functions violates the APA. See Widakuswara v. Lake, No. 25-CV-2390, 2025

WL 945869, at *5 (S.D.N.Y. Mar. 28, 2025); Nat’l Treasury Emps. Union v. Vought, No. 25-CV-

0381, 2025 WL 942772, at *40–41 (D.D.C. Mar. 28, 2025); Prelim. Inj. Op. at 25–28,

Widakuswara v. Lake, No. 25-cv-1015 (D.D.C. Apr. 22, 2025), ECF No. 98.

       The mandatory functions Congress has required IES to undertake are numerous and

complex. ESRA requires that IES’s NCES “shall collect, report, analyze, and disseminate

statistical data related to education.” 20 U.S.C. § 9543(a). ESRA lists numerous specific areas and

ways in which NCES must carry out this requirement, including through longitudinal studies, data

on financial aid, comparisons with foreign nations, and much more. Id. NCES must also carry out

National Assessment of Educational Progress (“NAEP”) using high-quality methods and

disseminate the results. See id. § 9622 (using “shall” nine times to specify NCES Commissioner’s

mandatory responsibilities regarding NAEP). Congress has similarly assigned numerous

mandatory duties to NCER and NCSER. The law requires that the research centers “shall” propose

research plans to the IES Directors, carry out those research plans, conduct “long-term research

activities,” “promote the use of scientifically valid research,” “synthesize and disseminate

findings” in conjunction with NCEE, and carry out numerous other research activities detailed by

the statute. Id. §§ 9533, 9567b. ESRA also requires that IES, through NCEE, “shall enter into

contracts with entities to establish a networked system of 10 regional educational laboratories.” Id.




                                                 29
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§ 9564. The law also requires that NCEE “shall” “conduct evaluations”; “widely disseminate

information on scientifically valid research, statistics, and evaluation,” particularly to states and

school districts; manage the National Library of Education; and make research and statistics

“accessible in a user-friendly, timely, and efficient manner,” including through a “searchable

Internet-based online database.” Id. § 9562.

         IES’s obligations are not only numerous, but Congress has repeatedly made clear that IES’s

functions must be carried out with a high standard of quality to ensure accurate and valid research

and data, and that this research must be conducted and disseminated in an up-to-date, timely, and

relevant manner.55 The requirement for IES’s data and research to be of high quality and timely is

not incidental—these requirements go to the core purpose of creating IES as an institution to

promote rigorous, valid research that can be used to effectively address education challenges.

         The Termination Actions have made it impossible for IES to carry out its legally-required

functions. With a staff of only 20, and a large share of its existing contracts for data collection,

longitudinal studies, research studies, dissemination and support cancelled, IES simply will not be

able to fulfill its many statutory requirements to conduct high-quality research, collect and analyze

valid data, and to disseminate that research and data. Chard Decl. ¶¶ 16–24 (AERA-0045–46);

Whitehurst Decl. ¶¶ 7–11 (AERA-0004–06); Pollard Young Decl. ¶¶ 18–19 (AERA-0030–31).

Any argument that IES’s remaining skeleton staff could carry out these functions, or that the husk

of remaining contracts fulfills these requirements, ignores the many statutory requirements that


         55
             See, e.g., id. § 9512 (enumerating five times that IES functions involve “scientifically valid” research and
data); id. § 9541(b)(1) (NCES must employ “the highest methodological standards”); id. §§ 9533, 9534 (NCER
“shall maintain published peer-review standards” and conduct “research that is rigorous” and “meet the highest
standards of professional excellence”); id. § 9567b(b)(1) (NCSER activities “shall . . . conform to high standards of
quality, integrity, accuracy, validity, and reliability”); id. §§ 9562(a)(2), 9563 (NCEE “shall” disseminate
“scientifically valid research, statistics, and evaluation” and evaluations conducted with “highest possible standards
of quality”); id. § 9541(b) (NCES “shall” collect, analyze, and report data that is “timely” and “relevant and
useful”); id. § 9533 (NCER “shall . . .ensure that research is relevant to education practice”); id. § 9562 (NCEE
“shall” disseminate information in “timely” manner including “most current research”).


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IES’s data and research must be of high quality and be updated and timely. See supra n.55. It is

not plausible for a tiny remaining IES staff to even administer the contracts and grants necessary

to carry out the agency’s functions, much less to strategically plan and effectively oversee the

performance of data, research, and dissemination contracts in a manner that ensures high-quality,

scientifically valid education data and research. See Chard Decl. ¶¶ 16–24 (AERA-0045–46); Ex.

C, McLaughlin Decl. ¶¶ 20–24 (AERA-0021–22); Whitehurst Decl. ¶¶ 7–11 (AERA-0004–06).

And that quality is integral to Congress’s directions. A slapdash operation with a skeleton crew

violates the law.

       This matter is not one on which reasonable people can disagree. Defendants’ staff

terminations are so extreme that an examination at any level of detail shows IES’s continued

operation is not possible if they remain in place. NCER has one remaining employee. Pollard

Young Decl. ¶ 16 (AERA-0029). NCER has historically—in keeping with the statutory

requirements placed on the Center—administered hundreds of research grants, developed training

programs for researchers, disseminated information and findings, engaged stakeholders, and

charted a strategic direction with a staff of approximately 15 mostly expert staff carrying a heavy

workload. Whitehurst Decl. ¶ 8–10 (AERA-0004–06). NCER’s work will grind to a halt without

adequate staffing, and the Center will necessarily disregard the duties Congress has charged it with.

NCEE also has one remaining employee, who is also the Acting Director of IES, Defendant

Soldner. Pollard Young Decl. ¶ 16 (AERA-0029). But simply operating the RELs—just one slice

of NCEE’s mandatory duties—is an intensive undertaking. Twenty staff have typically been

involved in operating the RELs, with 5 staffers dedicated to managing the 10 RELs on a full-time

basis. Id. ¶ 19. And NCEE has numerous other research, evaluation, and dissemination




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responsibilities. It will simply be impossible for NCEE to carry out its mandatory duties in statute

following the IES Staff Termination Action.

        But Defendants are not even trying to meet the absolute minimum of their statutory

obligations. The Research Termination Action abruptly shut down the mechanisms through which

IES carried out required functions. For example, ESRA unambiguously requires Defendants to

operate 10 RELs through contracts. 20 U.S.C. § 9564. Defendants are now operating none.56 The

law requires Defendants to conduct longitudinal studies and studies of financial aid, and to provide

complete statistics regarding adult education and international comparisons, but they have

cancelled the contracts that were fulfilling these responsibilities. Id. §§ 9543(a)(7), 9543(a)(1)(E),

9543(a)(1)(D), 9543(a)(6).57 Defendants’ cancellation of numerous longitudinal studies and of

contracts supporting the Common Core of Data (“CCD”) and mass layoffs at NCES—leaving only

three staff down from at least 8558—jeopardize IES’s ability even to carry out NAEP, Chard Decl.

¶ 22 (AERA-0045), and certainly threaten that it will not be carried out adequately, see 20 U.S.C.

§ 9622.59 Nowhere do the statutes creating and mandating IES functions empower Defendants to

disregard the agencies’ required functions based on their own discretion.




           56
              U.S. Department of Education Cancels Additional $350 Million in Woke Spending
[https://perma.cc/WR8N-VTHV], McGrath Decl. Ex. 11 (AERA-0246–47).
           57
              See, e.g., USASpending.Gov, IES to Rsch. Tri. Inst. (91990022C0017) [https://perma.cc/C2HC-
S9QP?type=image], McGrath Decl. Ex. 49 (AERA-425-428) (NPSAS); IES to Rsch. Tri. Inst. (91990018C0039)
[https://perma.cc/ZLL3-U8UL?type=image], McGrath Decl. Ex. 17 (AERA-0271–76) (NPSAS);
USASpending.Gov, Dep’t of Educ. to Westat, Inc. (91990019F0025) [https://perma.cc/WB8T-LMN3?type=image],
McGrath Decl. Ex. 50 (AERA-0430–33) (Program for International Student Assessment, or “PISA”); IES to Rsch.
Tri. Inst. (91990018F0018) [https://perma.cc/W2UY-6ESU?type=image], McGrath Decl. Ex. 15 (AERA-0261–265)
(HS&B); IES to WeStat, Inc. (91990019C0002) [https://perma.cc/9XBU-EWJ6], McGrath Decl. Ex. 43 (AERA-
0395–400) (ECLS-K).
           58
              Inst. of Educ. Scis., IES Staff (select "NCES" under "Filter by Office") (archived Apr. 28, 2025)
[https://perma.cc/997C-7D67], McGrath Decl. Ex. 52 (AERA-0441–42).
           59
              Barshay, NAEP, the Nation’s Report Card, Was Supposed to be Safe. It’s Not [https://perma.cc/TQT2-
2ZUC], McGrath Decl. Ex. 20 (AERA-0288–96).


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           D. Defendants’ Termination Actions violate the constitutional separation of
              powers by eviscerating a congressionally-created agency and refusing to
              spend appropriated funds.

       Finally, Plaintiffs are likely to prevail on their claim that Defendants’ Termination Actions

must be set aside because they violate the Constitution. 5 U.S.C. § 706(2)(B). At core, those

Actions flout Congress’s clear establishment of IES, assignment of myriad mandatory duties to the

agency, and appropriation of funds to carry out those duties. Disregarding Congress’s commands

in those ways violates the separation of powers enshrined in the U.S. Constitution.

       “[T]he Executive Branch must act based on authority that ‘stem[s] either from an act of

Congress or from the Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

585 (1952). The Executive Branch’s power “is at its lowest ebb” when it “takes measures

incompatible with the express or implied will of Congress.” Id. at 637 (Jackson, J. concurring);

Medellin v. Texas, 552 U.S. 491, 524 (2008) (adopting Justice Jackson’s separation-of-powers

framework). The power to enact laws lies with Congress, and the executive branch may not “repeal

statutes.” Clinton v. City of New York, 524 U.S. 417, 438 (1998).

       Here, Congress has spoken clearly and unequivocally, establishing IES as an agency

directed to carry out numerous functions related to education data, research, and dissemination in

a scientifically rigorous and timely manner. See 20 U.S.C. §§ 9511, 9512, 9533, 9534, 9543, 9545,

9546, 9562, 9564, 9567b. Congress has appropriated $800 million for the agency to carry out those

functions. Cont. Res. Mar. 2025. But Defendants’ Termination Actions have, nonetheless, gutted

the agency’s staff, abruptly cut off many of its data, research, and dissemination functions, and

made it impossible as a practical matter to continue those functions and certainly to carry them out

with the high standards of quality required by Congress.

       Defendants’ Termination Actions—cutting IES’s contracts to the bone and staff to a

stump—also violate the separation of powers by refusing to spend funds Congress has appropriated


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and directed Defendants to spend. The dramatic reduction in staff and cancellation of contracts

with a total value exceeding $1.2 billion, which the Administration categorized as “savings,”

makes clear that Defendants are refusing to spend appropriated funds on IES functions as Congress

directed. In addition to Congress’s specific appropriation of funds for IES, Congress has also

enacted a statutory scheme in the Impoundment Control Act (“ICA”) that strictly restrains the

Executive Branch’s ability “to spend less than the full amount appropriated by Congress for a

particular project or program.” In re Aiken Cnty., 725 F.3d 255, 261 n.1 (D.C. Cir. 2013)

(Kavanaugh, J.); see 2 U.S.C. § 683. While Defendants have clearly taken action to spend far

less—through staff and contracts—than Congress appropriated, they have not taken the required

steps for recission under the ICA. Through ESRA, its appropriations acts, and the ICA, Congress

has made clear its “will” that IES should be fully functional. Youngstown, 343 U.S. at 637 (Jackson,

J., concurring). Defendants’ Termination Actions are plainly “incompatible” with that will, and, as

such, their power is at its “lowest ebb.” Id.

       This form of mass contract cancellation and termination of employees—seeking to fully

eviscerate an agency created through statute and funded through appropriations—is precisely what

courts in and outside of this district have held to be a violation of the separation of powers. See

Does 1-26 v. Musk, No. 25-CV-0462, 2025 WL 840574, at *25 (D. Md. Mar. 18, 2025) (stayed on

appeal on grounds that named defendants were incorrect as they were without formal authority

over dismantled agency); Loc. 2677, Am. Fed’n of Gov’t Emps. v. Phillips, 358 F. Supp. 60, 72

(D.D.C. 1973); Widakuswara v. Lake, No. 25-CV-2390, 2025 WL 945869, at *7 (S.D.N.Y. Mar.

28, 2025); Nat’l Treasury Emps. Union v. Vought, No. 25-CV-0381, 2025 WL 942772, at *21

(D.D.C. Mar. 28, 2025); Prelim. Inj. Op. at 29–31, Widakuswara v. Lake, No. 25-cv-1015 (D.D.C.




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Apr. 22, 2025), ECF No. 98. The Termination Actions violate the separation of powers and thus

the APA.

       In the alternative, if the Court finds that the APA is unavailable, Defendants’ termination

actions would be ultra vires as the violate the separation of powers for the same reasons explained

above. As the Supreme Court has long recognized, separation-of-powers claims can be brought

under the Constitution. See NLRB v. Noel Canning, 573 U.S. 513, 525 (2014).

       III.    Plaintiffs Are Suffering Immediate, Irreparable Harm.

       Plaintiffs also are suffering irreparable harm that warrants a preliminary injunction. To

show irreparable harm, a party must clearly show that it will suffer actual, imminent harm that

“cannot be fully rectified” by a final judgment after trial. Mountain Valley Pipeline, LLC v. 6.56

Acres of Land, 915 F.3d 197, 216 (4th Cir. 2019) (internal quotation marks and citations omitted).

Plaintiffs more than meet this standard.

       First, the imminent final separation of nearly 90 percent of IES staff—particularly staff

with specific expertise in IES projects and operations—will irreparably harm Plaintiffs and their

members by destroying, for years to come, the agency’s ability to disseminate the relevant, timely,

quality research and data that Plaintiffs’ members rely on. Second, data and research that Plaintiffs’

members planned to use, which was collected over years of time, will never be released and used

if the significant studies cancelled in the Research Termination Action are not reinstated promptly

before data are destroyed and connections with researchers and subjects are lost. Third, the

imminent loss, which has already begun, of access to valuable restricted data, and subsequent

permission to publish work based on that data, is already causing irreparable harm to Plaintiffs’

members. The loss of this access also threatens to gravely harm the Plaintiffs’ student members’

ability to complete their degree programs.

       This failure to disseminate timely, relevant research and data to Plaintiffs’ members will


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prevent them from doing their work within the interconnected system of education research created

by Congress. None of these harms to Plaintiffs’ researcher members can be remedied by damages

at the time of judgment, as money damages are unavailable under the APA, see City of New York

v. DOD, 913 F.3d 423, 430 (4th Cir. 2019), and such damages, even if available, would be

“difficult to ascertain” and award, Multi-Channel TV Cable Co. v. Charlottesville Quality Cable

Operating Co., 22 F.3d 546, 551 (4th Cir. 1994) (internal quotation marks omitted).

             A. The imminent final separation of IES’s expert staff in June threatens
                irreparable harm because it will destroy IES’s ability to disseminate quality
                research and data to Plaintiffs’ members for years to come.

        Plaintiffs and their members have already begun suffering grave harms as IES’s functions

have been eviscerated and the interrelated system of quality, timely education data and research

supported by IES is grinding to a halt. If the IES employees currently on administrative leave are

finally separated from the Department of Education on or around June 10, 2025—as Defendants’

statements and RIF notices indicate, see Pollard Young Decl. Ex. 2 (AERA-0037–40)60—expert

program officers, research scientists, statisticians, and contracting officers will move on to other

employment opportunities, breaking the agency with permanence that cannot be remedied for

years to come. Whitehurst Decl. ¶ 11 (AERA-0006); Pollard Young Decl. ¶ 20 (AERA-0031). As

these expert staff, with decades of institutional knowledge about education data and research

expertise, find other positions and potentially leave the field of education research, the ecosystem

of education research that IES is crucial to will crater. Whitehurst Decl. ¶¶ 11–14 (AERA-0006–

08); Chard Decl. ¶ 24 (AERA-0046) (“Many of the leaders, experts, and statisticians who will be

lost, and presumably pursue other endeavors, have accumulated decades of expertise in carrying

out IES’s highly technical data and research functions.”).


        60
           U.S. Department of Education Initiates Reduction in Force [https://perma.cc/WF8P-AAQD], McGrath
Decl. Ex. 33 (AERA-0355–56).


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       Defendants’ IES Staff Termination Action is akin to the planned destruction of the other

agencies where courts have found preliminary relief was necessary to prevent the irreparable harm

of a fait accompli agency destruction because, “[o]nce the agency is gone, there will be no

opportunity to afford relief at a later point in the litigation.” Nat’l Treasury Emps. Union, 2025

WL 942772, at *41. Here, this mass loss of expert staff will not only “halt agency action in the

short term,” but will “threaten the efficacy of the agency in the long-term” if relief is not obtained

until final judgment. Widakuswara, 2025 WL 945869, at *9.

       Decimating the agency in this manner will ensure Plaintiffs’ members are deprived of

access to the high-quality, timely data and research that IES is required to disseminate for an

indefinite, extended period. See supra n. 54. There will be no updated, high-quality national

education data and research to use in meta-analyses or for research design. Tipton Decl. ¶¶ 8–15

(AERA-0079–81); Pigott Decl. ¶¶ 10–12 (AERA-0136). Longitudinal and broad research

studies—such as the HS&B, the High School Longitudinal Study, the MTSS on reading, the

NPSAS on student financial aid, and the ECLS-K—will simply not be conducted, or at best, will

be conducted through contracts with no substantive oversight by the remaining skeleton staff.

Chard Decl. ¶¶ 16–22 (AERA-0045–46) (“Managing such contracts requires intensive, near-daily

monitoring by expert staff to ensure that contractors are effectively carrying out the work needed

by IES”); Okagaki Decl. ¶¶ 9–11 (AERA-0013); McLaughlin Decl. ¶¶ 20–23 (AERA-0021–22).

Without the continued use of peer review to approve quality research grant applications, Plaintiffs’

members will be deprived of the high-quality research they have relied on to inform their work

and the opportunity to carry out more of that research, including non-federally-funded research,

themselves. Talbott Decl. ¶¶ 8–13 (AERA-0088–90); Reardon Decl. ¶¶ 16–20 (AERA-0075–76);

Gersten Decl. ¶¶ 9–16 (AERA-0050–52). Plaintiffs’ members will be deprived of the ability to




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use these rich resources for years, even if Plaintiffs prevail at final judgment here. See, e.g., id.;

Garvey Decl. ¶¶ 9–13 (AERA-0093–94). The research and dissemination carried out by the RELs

will be made impossible, Weiss (SREE) Decl. ¶ 9 (AERA-0056–57); Talbott Decl. ¶ 13 (AERA-

0089–90), as NCEE will not have sufficient staff to rebid or reinstate and manage the contracts to

operate them even if a court ordered that remedy in the future. Pollard Young Decl. ¶ 19 (AERA-

0030–31). And Plaintiffs’ members will not be able to rely on the practical resources provided by

them or through the WWC and ERIC, as NCEE could not possibly administer them effectively

without significant, skilled staff. See, e.g., Pigott Decl. ¶¶ 8–13 (AERA-0136–37); Talbott Decl.

¶¶ 11–12 (AERA-0089); Tipton Decl. ¶¶ 21–24 (AERA-0082–83); Watkins Decl. ¶¶ 7–9 (AERA-

0132).

         If the IES Mass Staff Termination is left in place and the vast majority of IES staff are

finally terminated, Plaintiffs’ many education researcher members will lose irreplaceable access

to the data, research, and dissemination resources IES is required to provide for years to come.

This would destroy the very field of education research in a manner that cannot be remedied at

final judgment after long-lasting damage has been done to IES’s ability to function as Congress

intended. See Chard Decl. ¶ 24 (AERA-0046); Whitehurst Decl. ¶ 11 (AERA-0006) (“If almost

all IES staff are terminated … it will take years to restore the agency’s functions. IES’s

professional staff was acquired over a long period of time and required a heavy investment in

recruiting and retention. The current staff has developed significant expertise… .”).

            B. Without prompt relief, the data and findings of the cancelled research
               contracts will be lost permanently, depriving Plaintiffs’ members of
               irreplaceable information.

         Enormous resources were poured into conducting research and collecting data from large

cohorts of students, parents, and educators in many of the significant research studies halted by

Defendants’ February Research Termination Action. This includes early childhood education


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research in the ECLS-K, studies of high school impacts on future success in the HSB, studies of

the impact of financial resources on student progress in the NPSAS, the effectiveness of reading

interventions in the MTSS, and other significant studies that took years and were tens of millions

of dollars into performance.61 These studies were occurring at a pivotal period in American

education, during and in the fallout from the pandemic. Essential to longitudinal studies is the

ability—recognized by Congress in requiring such studies, 20 U.S.C. § 9543(7)—to track the same

students over time. Without prompt relief, Plaintiffs’ members will never be able to regain access

to the vital research and data based on this work in order to continue their own research. See, e.g.,

Gersten Decl. ¶ 9 (AERA-0050) (“My work and research at IRG on reading instruction and meta-

analysis has relied heavily on studies like the Multi-Tiered Systems of Support for Behavior . . . .

[and] my work will be significantly compromised by the cancellation of this study.”); Reardon

Decl. ¶ 18 (AERA-0075) (“I previously published several high-profile research papers using

earlier ECLS-K studies from 1998 and 2010 and planned to add to that research using the new

ECLS-K study data. The inability to use this rich and important data source will diminish our

ability to conduct effective research and data analysis on trends and patterns in kindergarten

readiness and strategies for improving early childhood education.”); Ex. T, Radwin Decl. ¶ 11

(AERA-0141) (“I had planned to use the 2024 NPSAS study to examine changes over time … My

work analyzing the needs and experiences of student parents will be directly harmed by the

cancellation of IES contracts that made data concerning those students available.”).

        The loss of data and research being collected or conducted over the last several years and


        61
            IES to Rsch. Tri. Inst. (91990018F0018) [https://perma.cc/W2UY-6ESU?type=image], McGrath Decl.
Ex. 15 (AERA-0261–65) (HS&B); Dep’t of Educ. to Am. Inst. for Rsch. in Behavioral Scis. (91990018C0046)
[https://perma.cc/J22W-4849], McGrath Decl. Ex. 19 (AERA-0282–87) (MTSS); IES to Rsch. Tri. Inst.
(91990022C0017) [https://perma.cc/C2HC-S9QP?type=image], McGrath Decl. Ex. 49 (AERA-0425–28) (NPSAS);
IES to Rsch. Tri. Inst. (91990018C0039) [https://perma.cc/ZLL3-U8UL?type=image], McGrath Decl. Ex. 17
(AERA-0271–76) (NPSAS); IES to WeStat, Inc. (91990019C0002) [https://perma.cc/9XBU-EWJ6], McGrath Decl.
Ex. 43 (AERA-0395–400) (ECLS-K).


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ongoing until the February cancellations is particularly damaging. Our education system has

experienced significant challenges as a result of the pandemic and data from the post-pandemic

era is particularly important, Tipton Decl. ¶¶ 16, 18 (AERA-0081); Okagaki Decl. ¶ 12 (AERA-

0013–14), as Defendants have tacitly acknowledged with its citation of pandemic era student

achievement declines.62 Further, we are also now on the cusp of significant changes and challenges

in education due to technological advancements with artificial intelligence (“AI”). Tipton Decl. ¶

18 (AERA-0081). This Administration has itself recognized the critical nature of this moment in

education research with last week’s Executive Order directing Defendant McMahon to “utilize

existing research programs . . . to use AI for improved student achievement” because AI “is rapidly

transforming the modern world” and teachers must be equipped “to utilize AI in their classrooms

to improve educational outcomes.”63

        Courts have—fortunately—not had the occasion to consider whether the obliteration of a

federal research agency creates irreparable harm for researchers due to the lack of access to timely

data and research, but courts have found that cutting off access to data or even delaying access to

information, can cause irreparable harm in other contexts. See e.g., hiQ Labs, Inc. v. LinkedIn

Corp., 31 F.4th 1180, 1189 (9th Cir. 2022) (upholding irreparable harm finding concerning

company’s inability to access LinkedIn profile data); Citizens for Resp. & Ethics in Washington v.

U.S. DOGE Serv., No. 25-CV-511, 2025 WL 752367, at *7 (D.D.C. Mar. 10, 2025) (“indefinite

delay in the release of the requested USDS records would cause CREW and the public irreparable

harm.”); Drs. for Am. v. OPM, No. 25-CV-322, 2025 WL 452707, at *8 (D.D.C. Feb. 11, 2025)




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             U.S. Department of Education (@usedgov), X/Twitter (Feb. 12, 2025, 5:16 PM ET)
[https://perma.cc/FBR3-VSUN], McGrath Decl. Ex. 13 (AERA-0252–53).
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             Advancing Artificial Intelligence Education for American Youth, Exec. Order No. 14277 (Apr. 23, 2025),
to be published as 90 Fed. Reg. 17519 (Apr. 28, 2025) [available at https://perma.cc/AY7E-WGMA], McGrath
Decl. Ex. 51 (AERA-0434–39).


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(finding irreparable harm would result from “removal of the webpages and datasets.”).

           C. Plaintiffs’ members will suffer irreparable harm to their ability to access and
              use restricted data.

       Plaintiffs’ members also face an irreparable injury in the loss of their ability to use

restricted-use data, which is essential to their work and cannot be remedied years later. As

discussed above, Plaintiffs’ members rely on restricted-use data, which, because of the sensitive

information it contains, has strict requirements for use. This harm is acute for education researchers

and particularly acute for graduate students whose need for timely access to data is essential for

completing their graduate programs.

       IES has cancelled its remote restricted-use data program (which permitted such data to be

accessed outside of the traditional “cold room environment,” the traditional means of accessing

restricted-use data), which will make it significantly more difficult for many of Plaintiffs’ members

to access restricted-use data (by requiring them to go to a “cold room” at an already licensed

institution). The agency’s indication that it will not accept new user applications or requests for

new data stands to make much of Plaintiffs’ members’ work impossible, as the information they

seek in restricted-use data sets is unavailable elsewhere. See Ex. M, Brady Doe Decl. ¶ 13 (AERA-

0100) (“The second part [of my dissertation] examines information about students that is not

publicly available . . . . All of these variables are only accessible through the restricted license.”);

Alex Doe Decl. ¶¶ 7–8 (AERA-0105–06) (noting that their research relies on information available

only in the restricted-use dataset); Garvey Decl. ¶ 19 (AERA-0095) (describing how information

integral to his research collective’s work is “available only” in the restricted-use dataset).

       These changes will impact Plaintiffs’ professional and student members. Many members

may not be able to continue their work. Jason Garvey, for example, will not be able to run his

organization’s “Emerging Scholars” program, which relied on being able to teach in the “virtual”



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cold rooms. See Garvey Decl. ¶ 25 (AERA-0096). Nor will he be able to access comparable data,

as his organization cannot afford “institutional datasets or privately-held research datasets” that

might replace some IES data. See id. ¶ 28 (AERA-0096).

           For Plaintiffs’ student members, the limits on restricted-use data have serious

consequences. As one member put it, in light of this loss of data, they will need to “completely

reconceptualize” their dissertation. See Brady Doe Decl. ¶¶ 17–18 (AERA-0101). Some of

Plaintiffs’ members may also be significantly delayed in—or, effectively prohibited from—

publishing their dissertations, as the publication of research utilizing restricted-use data requires

NCES review and approval. IES has indicated that there will be “delays in response to both new

and existing” disclosure review requests. See Wong Decl. Ex. 1 (AERA-0115). Members have

stated that they will have to delay their graduations in order to rethink their dissertations or

determine how to share their dissertations with the doctoral committees who vote to confer PhDs.

See Brady Doe Decl. ¶¶ 17–18 (AERA-0101); Wong Decl. ¶¶ 18–19 (AERA-0112–13) (“Because

the NCES disclosure review may be delayed, and because I have no idea for how long, I have

spent significant time trying to figure out how I will be able to graduate . . . .[T]his will affect my

graduation . . . . I am likely to push graduation until December to have more time to figure this

out.”). Student members will also be prohibited from publishing their dissertations, which may

lead to professional consequences. See, e.g., Alex Doe Decl. ¶ 14 (AERA-0106) (“I do not know

if I will actually be able to publish my dissertation”), ¶ 23 (“[T]he work I have done for several

years will never be seen by my peers, future colleagues, or those in my profession.”); Wong Decl.

¶ 14 (AERA-0112) (“I had planned to defend my dissertation in August 2025, and I am very

worried that I will not be able to get my dissertation through the disclosure review process before

then.”).




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         IV.      The Balance of Equities and Public Interest Both Favor an Injunction.

         The final two factors, which address whether the balance of equities tips in a movant’s

favor and whether the injunction is in the public interest, “merge when the Government is the

opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). Here, both favor Plaintiffs.

         Plaintiffs seek relief to require Defendants to carry out legally-required functions that are

critical to understanding the status and progress of education in our country, to obtaining high-

quality research on practices that can address educational challenges, and to disseminating that

information to better serve our nation’s students.

         To start, the government cannot suffer harm from an injunction that merely ends an

unlawful       action    because       “a    state     is    in    no     way     harmed       by     issuance         of

a preliminary injunction which prevents the state from enforcing restrictions likely to be found

unconstitutional” or which “merely ends an unlawful practice.” Leaders of a Beautiful Struggle v.

Balt. Police Dep’t, 2 F.4th 330, 346 (4th Cir. 2021) (internal quotation marks and citations omitted);

R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 191 (D.D.C. 2015) (quoting Rodriguez v. Robbins, 715

F.3d 1127, 1145 (9th Cir. 2013)). “To the contrary, there is a substantial public interest in having

governmental agencies abide by the federal laws.” HIAS, Inc. v. Trump, 415 F. Supp. 3d 669, 686

(D. Md. 2020) (internal quotation marks and citations omitted). “If anything, the system is

improved by such an injunction.” Centro Tepeyac v. Montgomery Cnty., 722 F.3d 184, 191 (4th

Cir. 2013) (internal quotation marks and citations omitted).64



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             To the extent that Defendants request a bond upon entry of a preliminary injunction, a bond of $0 or
another nominal amount is appropriate here. As the Fourth Circuit has held, “[w]here the district court determines
that the risk of harm is remote, or that the circumstances otherwise warrant it, the court may fix the amount of the
bond accordingly. In some circumstances, a nominal bond may suffice.” Hoechst Diafoil Co. v. Nan Ya Plastics
Corp., 174 F.3d 411, 421 n.3 (4th Cir. 1999). This is the type of public-interest litigation where just such nominal
security is usually all that courts require. See Maryland v. USDA, 2025 WL 800216, at *26 (collecting cases).




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       Further, the public interest favors the maintenance of an agency that serves the interests of

tens of millions of students, their educators, policymakers, researchers, and society more broadly

by allowing us to understand the challenges within our schools and to learn more effective ways

to address them, the work of which cannot be replicated by other means. See Whitehurst Decl. ¶¶

10, 12, 14 (AERA-0006–08); Okagaki Decl. ¶¶ 7–10, 12 (AERA-0012–14); Chard Decl. ¶¶ 14, 24

(AERA-0044, AERA-0046); Reardon Decl. ¶ 18 (AERA-0075). The “terrible long-term effects

for our nation’s students” that may stem from IES’s decimation, Okagaki Decl. ¶ 15 (AERA-0014),

and the “immense” harm to our country’s education system favor Plaintiffs here.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court grant their motion

for a preliminary injunction to prevent the obliteration of an irreplaceable federal agency. Plaintiffs

pray that the Court enters an injunction restoring the status quo and requiring Defendants to take

all action necessary to reverse the effects of their unlawful activity, as specified in their motion.




 Dated: April 29, 2025                              Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       I, Daniel A. McGrath, certify that I filed the foregoing with the Clerk of Court for the

United States District Court for the District of Maryland by using the CM/ECF system, which

sent a notice of such filing to all registered CM/ECF users who have appeared in this case. I also

emailed a copy of the motion and its attachments to counsel at the Department of Justice.

                                                                          /s/ Daniel A. McGrath
                                                                             Counsel for Plaintiffs




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